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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                 )
    HOLOGIC, INC. and CYTYC                      )
    SURGICAL PRODUCTS, LLC,                      )
                                                 )
                       Plaintiffs and            )
                       Counterdefendants,        )
                                                 )   C.A. No. 15-1031-JFB-SRF
          v.                                     )
                                                 )
    MINERVA SURGICAL, INC.,                      )
                                                 )
                       Defendant and             )
                       Counterclaimant.          )
                                                 )

                    ORDER APPROVING SUPERSEDEAS BOND AND
                      STAYING OF EXECUTION OF JUDGMENT

        This matter is before the Court on Defendant Minerva Surgical, Inc.’s (“Minerva”)

  motion (D.I. 627) for approval of a supersedeas bond and for a stay, pending appeal, of

  execution of the Court’s June 3, 2019 Final Judgment (D.I. 621) pursuant to Federal

  Rule of Civil Procedure 62(b). The Court has considered Minerva’s motion and plaintiffs

  Hologic, Inc. and Cytyc Surgical Products, LLC’s (collectively, “Hologic”) opposition

  thereto, and finds that the motion should be granted. Accordingly,

        IT IS ORDERED that:

          1.     Minerva’s supersedeas bond in the amount of $7,094,974.42 is

                 APPROVED;

          2.     Minerva’s motion for a stay of execution of the Court’s Final Judgment,

    pending Hologic’s appeal and Minerva’s cross-appeal to the United States Court of

    Appeals for the Federal Circuit is GRANTED; and

          3.     Any and all actions and proceedings to execute on the Court’s Final

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    Judgment shall be STAYED pending final resolution of the appeal.

          DATED this 11th day of October, 2019.



                                                BY THE COURT:

                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge




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